
¶ 1 Department I of the Court, composed of Chief Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud, considered at its January 8, 2019, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That consideration of this matter is continued to this Court's February 7, 2019, En Banc Conference. However, if, after additional consideration, the five members of the Department unanimously agree as to the resolution of the matter, an order reflecting such determination will be filed, and the matter will be stricken from the February 7, 2019, En Banc Conference.
For the Court
/s/ Fairhurst, C.J. CHIEF JUSTICE
